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ATTACHMENT

RESPONSIVE STATEMENT OF
STEP ONE PLAN PROPONENTS

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RESPONSIVE STATEMENT OF
STEP ONE PLAN PROPONENTS

THIS STATEMENT IS ADDRESSED PRIMARILY TO THE STEP ONE LENDERS,
WHO ARE URGED TO VOTE IN FAVOR OF THE STEP ONE PLAN AS
IT IS THE ONLY PLAN THAT TREATS STEP ONE LENDERS FAIRLY
BY OFFERING THEM A PAR RECOVERY

Don’t be fooled by the Oaktree Plan’s attempt to settle “highly likely” fraud claims
against the Step Two Lenders for pennies on the dollar. The Step Two Lenders should be
knocked out entirely, not merely inconvenienced with a nominal settlement payment, and no
distributions payable to Step One Lenders should be surcharged under the inapplicable Sharing
Provisions for the benefit of the Step Two Lenders. And don’t be fooled by the Aurelius Plan’s
and the Bridge Plan’s fantastic promises of huge recoveries from the Step One Lenders. Suing
the Step One Lenders on “highly unlikely” grounds will have no result other than to drain the
Litigation Trust of tens of millions of dollars that would otherwise by distributed to creditors.
The Step One Plan promises no more and no less than what the Examiner's Report concluded
was appropriate in this case — a fair distribution on the Effective Date to the Step One Lenders
and to all legitimate creditors and a fair chance to recover a second distribution upon the

successful challenge to the fraudulent Step Two Transactions.

I. PRELIMINARY STATEMENT: ONLY ONE PLAN IS CONSISTENT WITH
THE EXAMINER’S REPORT

One independent Examiner’s Report. Four competing Plans. And while there are a
myriad of issues addressed in each Plan, it has been abundantly clear from the beginning of this
case that the one overarching issue that will determine creditor recoveries is the allegation that

actual or constructive fraud drove Tribune into bankruptcy.
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As the Examiner's Report makes clear, the Step Two Loans were precisely that — actual
and constructive fraudulent transfers that drove Tribune into bankruptcy. Yet, the largest Step
Two Lenders — Oaktree, Angelo Gordon and JPMorgan Chase -- continue their efforts to
dominate and corrupt the bankruptcy process to shield themselves from fraudulent transfer

liability and protect their own recoveries.

Aurelius and the Bridge Lenders offer their own restructuring views that are also starkly
inconsistent with the Examiner's Report. Aurelius proposes to sue the Step One Lenders based
on a single passing reference in the Examiner’s Report while entirely ignoring that the Examiner
explicitly concluded that any challenge to the Step One Loans is "highly unlikely" to be
successful. The Bridge Lenders propose nothing less than elevating their own subordinated
claims to senior status, even though the Examiner's Report concluded that the Bridge Loans were
highly likely to be avoidable as fraudulent transfers.

Only the Step One Plan is consistent with the Examiner’s Report. The so-called Oaktree
Plan, Aurelius Plan and Bridge Plan are not only irreconcilable with the Examiner’s Report but
also driven by motivations and interests detrimental to the interests of the Step One Lenders.
The Oaktree Plan also compounds its errors by seeking to apply sharing provisions in the Credit
Agreement that, in fact, do not apply. By seeking to apply the sharing provisions, the Oaktree
Plan would deny the Step One Lenders their right to a par recovery and, instead, have the Step

One Lenders pay for the fraudulent transfer sins of the Step Two Lenders.

I. EXAMINER’S REPORT: THE STEP TWO TRANSACTIONS ARE
FRAUDLENT, THE STEP ONE TRANSACTIONS ARE NOT

While the exhaustive Examiner’s Report spans more than a thousand pages, one need
only read the first few pages to get to the contrasting punch lines for the Step Two and Step One

Transactions.
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On the issue of “constructive fraudulent transfer,” which requires a finding that Tribune was

insolvent at the time or rendered insolvent as a result of the transactions:

e “(T]he Examiner finds that it is highly likely that a court would conclude that Tribune
was rendered insolvent and left without adequate capital after giving effect to the Step

Two Transactions.”

e Conversely, based on the Examiner’s conclusion that the Step One Transactions and Step
Two Transactions should not be collapsed, “it is highly unlikely that the Tribune Entities

were rendered insolvent in Step One.”
On the issue of “intentional fraudulent transfer”:

e “[It] is somewhat likely that a court would conclude that the Step Two Transactions

constituted intentional fraudulent transfers and fraudulently incurred obligations.”

e Conversely, “the Examiner did not find credible evidence that the Tribune Entities

entered into the Step One Transactions to hinder, delay or defraud creditors.”

The Step Two Transactions were fraudulent, plain and simple, and if the Step Two
Lenders are not willing to provide for a fair settlement of the claims against them, they should be
sued for as long as it takes to right the grievous wrongs they perpetrated. At the same time, a
cost-benefit analysis makes it clear that it would be wasteful and virtually pointless to challenge
the Step One Transactions. Spending tens of millions of dollars in a futile challenge to the Step

One Lenders will benefit only the lawyers, no one else.!

' Nor can it be argued that there would be an “economy of savings” in challenging both
the Step Two and Step One Transactions concurrently, because as the Examiner’s Report makes
clear, the facts, the circumstances, the parties, the motivations, the main legal issues and the
evidentiary requirements barely overlap between Step One and Step Two.

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I. ONLY THE STEP ONE PLAN IS FAITHFUL TO THE CONCLUSIONS IN THE
EXAMINER'S REPORT CONCERNING FRAUDULENT TRANSFER
ALLEGATIONS AS TO THE STEP TWO AND STEP ONE TRANSACTIONS

While each of the four Plans asserts that it embodies the findings set forth in the
Examiner's report, only the Step One Plan is faithful to the Examiner's actual continuum of
culpability for fraudulent conveyance liability -- that a fraudulent transfer challenge would be
"highly unlikely" to succeed against the Step One Lenders and "highly likely" to succeed against
the Step Two Lenders. Based on the Examiner's Report, an appropriate plan of reorganization
would allow the claims of the Step One Lenders in full while preserving a fraudulent transfer
against the Step Two Lenders. That is precisely the approach that the Step One Plan takes. The
other three Plans, however, take very different approaches, each of them highly detrimental to

the interests of the legitimate Step One Lenders.

A, The Oaktree Plan Grants Full Bankruptcy Releases to the Step Two Lenders
and the Step Two Agent for a Nominal Settlement Amount

The Oaktree Plan acknowledges the validity of the Step One Lenders' claims but, rather
than preserve litigation rights against the Step Two Lenders, it provides for a forced settlement of
those litigation rights in exchange for a nominal settlement amount. This settlement not only
eliminates any highly likely challenge to the claims of the Step Two Lenders and the conduct of
the Step Two Agent, JPMorgan Chase, but also proposes to shield the Step Two Lenders and
their Agent forever more from bankruptcy attack. Then, to add insult to injury and as discussed
in more detail in the next section of this Statement, the Oaktree Plan provides that the settlement
amount should be borne pro rata by the Step One Lenders, even though it is only the Step Two

Loans that are subject to serious challenge.

It should be noted that this is actually the second version of the Oaktree Plan. Ironically,

the first version of the Oaktree Plan adopted exactly the same approach as the current Step One
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Plan. In the first Oaktree Plan dated September 17, 2010 (the "First Oaktree Plan"),” the
claims of the Step One Lenders were "deemed Allowed in an aggregate amount equal to all
amounts payable..., including principal, interest, and all other amounts," while the claims of the

Step Two Lenders were described as "subject to challenge by the Litigation Trust."

The Oaktree Plan Proponents had it right the first time. There is no point in challenging
the Step One Loans while there is every reason to challenge the Step Two Loans. That is exactly

what the Step One Plan provides, neither more nor less.

B. The Aurelius Plan Proposes To Sue Everyone without Distinction

On the other end of the spectrum is the Aurelius Plan. The problem that the Senior
Noteholders face is that a successful challenge only to the Step Two Lenders would leave the
Senior Noteholders with, at best, a nominal recovery, as is made clear in the recovery scenarios
in Annex B to the second volume of the Examiner’s Report. It is only if the claims of the Step
One Lenders are also successfully challenged that there is any prospect for a substantial recovery

by the Senior Noteholders.

Therefore, not surprisingly, while legitimately preserving the highly likely fraudulent
transfer claims against the Step Two Lenders, the Aurelius Plan also illegitimately preserves the
highly unlikely fraudulent transfer claims against the Step One Lenders. In doing so, the
Aurelius Plan will impose tens of millions of dollars of incremental expense on the Litigation
Trust — thus reducing and delaying creditor recoveries — in the pursuit of highly unlikely claims.
The Aurelius Plan also “conveniently” provides Aurelius with control of the Litigation Trust,

meaning it is Aurelius’s lawyers who are hoping to be paid all of the Trust's litigation fees.

* Joint Plan of Reorganization for Tribune Company and Its Subsidiaries Proposed by
Oaktree Capital Management, L.P. and Angelo, Gordon & Co., L.P. [Docket Entry No. 5728].

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The Aurelius Plan is trying to have it both ways. The Aurelius Plan argues that the
Examiner's Report supports suing the Step Two Lenders but then ignores the fact that the
Examiner's Report does not support suing the Step One Lenders. The Aurelius Plan should be
viewed for what it is - a heavy-handed attempt to bully the Step One Lenders into putting a
substantial amount of money on the table rather than risk being sued. But let there be no doubt,

the Step One Lenders categorically reject such tactics.

Cc. The Bridge Plan Is Just as Indefensible

Right next to the Aurelius Plan on the extreme end is the Bridge Plan. In addition to

commenting on the Step One and Step Two Loans, the Examiner’s Report also reviewed the
Bridge Loans and concluded that the Bridge Loans were “highly likely” to be avoidable as
fraudulent transfers. Yet, the Bridge Plan provides the subordinated Bridge Lenders with a
recovery far in excess of what they would be entitled to under any legitimate recovery scenario,
while at the same time seeking to buy the support of Senior Noteholders by promising to pay to
Senior Noteholders 138% of the distributable enterprise value of Tribune. The Bridge Plan

makes no sense and merits no further comment.

IV. THE OAKTREE PLAN IMPROPERLY APPLIES THE SHARING PROVISIONS
IN THE CREDIT AGREEMENT TO THE SUBSTANTIAL DETRIMENT OF
THE STEP ONE LENDERS

The current Oaktree Plan, just like the First Oaktree Plan, acknowledges that the Step
One Loans are unchallengeable while conceding that the Step Two Loans are subject to
legitimate challenge. However, when it comes to settling the challenge against the Step Two
Loans, the Oaktree Plan provides that the settlement amount should come jointly out of the

pockets of the Step One Lenders in addition to the Step Two Lenders.
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While this makes no sense on its face and the Oaktree Plan makes no effort to explain it,
the Oaktree Plan's logic is presumably the same as set forth in the First Oaktree Plan.
Specifically, the First Oaktree Plan relied on the so-called Sharing Provisions of the Credit
Agreement to assert that all distributions payable to the Step One Lenders must be shared with

the Step Two Lenders. This is flat-out wrong, for a number of reasons.

A group of Step One Lenders has already filed a state court litigation against JPMorgan
Chase Bank, Merrill Lynch Capital Corporation, Citicorp North America and Bank of America
to resolve the Sharing Provisions dispute (the "NY Litigation"). The NY Litigation sets forth a
number of grounds why the Sharing Provisions do not apply under the current circumstances and
also as to the defendants' grossly improper conduct. Those grounds include, for example, breach
of contract, breach of the covenant of good faith and fair dealing, inducement of breach of
contract, gross negligence and willful misconduct, including willful breach of the defendants’

duties under the Credit Agreement in connection with the Step Two financing.

Focusing on the Sharing Provisions, they apply only to loans that are outstanding. By
definition, if the Step Two Loans are not outstanding because they have been avoided as
fraudulent transfers, the Sharing Provisions do not apply to them. Further, NY law is clear that a
party cannot benefit from its own misconduct and, therefore, NY law would not permit the Step
Two Lenders to share in a distribution when their own actions breached the Credit Agreement

and have caused their own Step Two Loans to be avoidable.

> Alden Global Distressed Debt Opportunities Fund, et al. v. JPMorgan Chase Bank, et
al., index 651884/2010, filed Oct, 29, 2010 in the Supreme Court of the State of New York. A
copy of the Complaint in this litigation is available upon request from counsel for the Step One
Plan Proponents.
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Similarly the Credit Agreement provides that the Sharing Provisions are applicable to the
Step Two Loans only if they qualify as "Incremental Term Loans" under the Credit Agreement.
However, the Step Two Loans were incurred notwithstanding the failure to meet several of those
conditions. For example, one of the conditions to qualification is that Tribune had to be solvent
at the time of incurrence and after giving effect thereto. As the Examiner's Report makes
abundantly clear, however, it is highly likely that Tribune was rendered insolvent by the Step
Two Loans. The Examiner's Report also makes clear that the Step Two Loan Agent (JPMorgan
Chase) was heavily involved in the solvency analysis and it is highly likely that the Agent was
fully aware of Tribune's insolvent status. Given insolvency, the Step Two Loans could not have
qualified as Incremental Term Loans and, therefore, the Sharing Provisions simply do not apply

to the Step Two Loans as a matter of contract.

The NY Litigation asserts additional grounds on which the Sharing Provisions are not
enforceable if they even apply at all, but the point is that, as the First Oaktree Plan explicitly
acknowledged and the current Oaktree Plan implicitly acknowledges, the Step One Loans are
valid and unchallengeable while the Step Two Loans are fraudulent and fully challengeable. The

Sharing Provisions simply cannot apply in those circumstances.

V. CONCLUSION

The Oaktree Plan, the Aurelius Plan and the Bridge Plan all treat the Step One Loans and
the Step Two Loans as though they are of equal merit from a fraudulent transfer perspective.
They are not. The independent Examiner’s Report concludes that challenges to the Step Two
Loans are highly /ikely to succeed while challenges to the Step One Loans are highly unlikely to
succeed. Logically, then, if the Examiner himself were to draft a plan, it would essentially

provide as follows: "Step One Loans ALLOWED. Step Two Loans DISALLOWED." This is
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exactly what the Step One Plan, and only the Step One Plan, provides. The other three Plans

provide otherwise and should be rejected out of hand.

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